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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,

                  Plaintiff,



v.                                  ORDER
                                    Criminal File No. 11-87 (MJD/JJK)

(4) NANA OSEI-TUTU,
(5) FAWSIYO HASSAN FARAH,
(7) ADETOKUNBO OLUBUNMI ADEJUMO,
(8) JUDE OBIRA OKAFOR,
(9) OLUGBENGA TEMIDAGO ADENIRAN,
(11) CHARLES TUBMAN DWAMINA, and
(12) SUNDAYGA DEXTER ROBERTS,

                  Defendants.

Ann M. Anaya and John Docherty, Assistant United States Attorneys, Counsel
for Plaintiff.

Glenn P. Bruder, Mitchell Bruder & Johnson, Counsel for Defendant Osei-Tutu.

Michael B. Padden, Padden & Associates, LLC, Counsel for Defendant Farah.

Stephen R. O’Brien, Stephen R. O’Brien Law Office, Counsel for Defendant
Adejumo.

John S. Hughes, Law Office of John S. Hughes, Counsel for Defendant Okafor.

Daniel Mohs, Law Office of Daniel Mohs, Counsel for Defendant Adeniran.


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Wayne G. Nelson, Law Offices of Wayne G. Nelson, Counsel for Defendant
Dwamina.

Eric L. Newmark, Gaskins, Bennett, Birrell, Schupp, LLP, Counsel for Defendant
Roberts.

      The above-entitled matter comes before the Court upon the Report and

Recommendation of United States Magistrate Judge Jeffrey J. Keyes dated May 9,

2011. [Docket Nos. 357, 358, 359, 360, 361, 362, 363]

      Defendants Okafor, Dwamina, and Roberts filed objections to the Report

and Recommendation. Defendants Osei-Tutu, Farah, Adejumo, and Adeniran

filed no objections to the Report and Recommendation.

      Pursuant to statute, the Court has conducted a de novo review of the

record. 28 U.S.C. § 636(b)(1); Local Rule 72.2(b). Based upon that review, the

Court ADOPTS the Report and Recommendation of United States Magistrate

Judge Keyes dated May 9, 2011.

      Accordingly, based upon the files, records, and proceedings herein, IT IS

HEREBY ORDERED:

      1.    The Court ADOPTS the Report and Recommendation of United
            States Magistrate Judge Jeffrey J. Keyes dated May 9, 2011. [Docket
            Nos. 357, 358, 359, 360, 361, 362, 363].

      2.    Defendant Roberts’s Motion for Severance Pursuant to Rules 8(b)
            and 14 [Docket No. 155] is DENIED.

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     3.    Defendant Osei-Tutu’s Motion for Severance *Docket No. 163+ is
           DENIED.

     4.    Defendant Okafor’s Motion for Severance *Docket No. 178+ is
           DENIED.

     5.    Defendant Farah’s Motion to Sever Defendants *Docket No. 196+ is
           DENIED.

     6.    Defendant Dwamina’s Motion for Severance of Defendants *Docket
           No. 210] is DENIED.

     7.    Defendant Adeniran’s Pretrial Motion for Severance *Docket No.
           218] is DENIED.

     8.    Defendant Adejumo’s Motion for Severance *Docket No. 328+ is
           DENIED.



Dated: June 20, 2011               s/ Michael J. Davis
                                   Michael J. Davis
                                   Chief Judge
                                   United States District Court




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